                    IN THE COURT OF APPEALS OF NORTH CAROLINA

                                       2021-NCCOA-346

                                        No. COA20-551

                                       Filed 20 July 2021

     Durham County, No. 19 SPC 2461

     IN THE MATTER OF: Q.J.




             Appeal by Respondent from an Order entered 17 January 2020 by Judge Pat

     Evans in Durham County District Court. Heard in the Court of Appeals 10 March

     2021.


             Attorney General Joshua H. Stein, by Assistant Attorney General John Tillery,
             for the State.

             Appellate Defender Glenn Gerding, by Assistant Appellate Defender Katy
             Dickinson-Shultz, for respondent-appellant.


             HAMPSON, Judge.


                           Factual and Procedural Background

¶1           Respondent-Appellant Q.J. (Respondent) appeals from an Involuntary

     Commitment Order entered in Durham County District Court declaring Respondent

     mentally ill, a danger to self and others, and ordering Respondent be committed to

     an inpatient facility for thirty days. The Record reflects the following:
                                           IN RE C.G.

                                         2021-NCCOA-346

                                      GRIFFIN, J., dissenting



¶2         On 25 December 2019, Dr. Naveen Sharma with Duke University Medical

     Center (Duke), signed an Affidavit and Petition for Involuntary Commitment in

     Durham County District Court stating Respondent was mentally ill and a danger to

     himself or others or “in need of treatment in order to prevent further disability or

     deterioration” likely to result in dangerousness. Submitted with this Affidavit was

     an Examination for Involuntary Commitment report conducted by Dr. Sharma. Dr.

     Sharma stated Respondent had a “history of schizoaffective disorder” and “multiple

     hospitalizations[.]” Moreover, according to Dr. Sharma, Respondent presented “to

     the Duke emergency department with a similar presentation to previous [emergency

     department visits] that led to” Respondent being hospitalized in the past.

¶3         The report also stated: “Per the police officers, he was having thoughts of

     harming his mother, and has previously threatened to slit her throat with a knife,

     and also had expressed suicidal thoughts.”          Dr. Sharma noted, “[Respondent]

     presents with disorganized behavior and manic speech[,] . . . is unable to adequately

     care for himself in the community, and has not been regularly taking his prescribed

     medicine. As such it is my best clinical judgment that this patient will require

     inpatient hospitalization for stabilization and safety.”
                                            IN RE C.G.

                                         2021-NCCOA-346

                                      GRIFFIN, J., dissenting



¶4         On 25 December 2019, a magistrate issued a Findings and Custody Order

     finding Respondent was mentally ill and a danger to himself or others, and ordering

     Respondent be delivered to Duke’s “Williams Ward.”1

¶5         Respondent underwent a second evaluation, conducted by Dr. Bryan Lao, at

     Duke’s inpatient unit the next day.       Dr. Lao’s report stated Respondent “has a

     previous history of schizo-affective disorder, bipolar type . . . has been hospitalized

     over 30 times in the past due to the medication non-compliance . . . has a history of

     threatening his family[,] . . . and thoughts of hurting/killing his mother.” The report

     also alleged Respondent “has had numerous suicide attempts in the past including .

     . . attempting to cut his own arm off.”

¶6         On 17 January 2020, after granting two continuances, the trial court heard

     Respondent’s case pursuant to N.C. Gen. Stat. § 122C-268.                 At the outset,

     Respondent’s counsel objected to the proceedings because there was no representative

     for the State present. Defense counsel noted the district attorney’s office believed it

     was not required to send a representative as did the Attorney General’s office. The

     trial court overruled Respondent’s objection and the hearing continued.

¶7         The trial court called Dr. Kristen Shirey as the only witness to testify for Duke.

     Respondent’s counsel objected to the trial court allowing Dr. Shirey’s testimony


           1 The Affidavit, examination report, and Findings and Custody Order were all filed on

     27 December 2019.
                                           IN RE C.G.

                                        2021-NCCOA-346

                                      GRIFFIN, J., dissenting



     because Dr. Shirey did not complete either of Respondent’s evaluations for

     commitment; the trial court overruled Respondent’s objection.

¶8         The trial court asked Dr. Shirey: “All right, ma’am. Tell me what it is you want

     me to know about this matter.” Dr. Shirey testified Respondent was brought to Duke

     after expressing homicidal ideations toward his mother.               Respondent had an

     extensive history of schizoaffective disorder and past hospitalizations. Dr. Shirey

     testified despite Respondent “responding well” to his medication, he “has significantly

     limited insight into the nature of his illness or the need for ongoing medication.” In

     Dr. Shirey’s opinion, if Respondent were released, his risk of decompensating was

     high, possibly resulting in suicidal or homicidal ideations or actions. Dr. Shirey also

     testified Respondent’s “assertive community treatment” team recommended

     Respondent “have a longer-term hospitalization in order to achieve more stabilization

     . . . with [a] long-acting injectable medication.” The trial court asked if Dr. Shirey

     had “[a]nything else” to add. Dr. Shirey did not.

¶9         Upon cross-examination, Respondent’s counsel confirmed Dr. Shirey was not

     “the doctor that completed the first evaluation[.]” Dr. Shirey testified despite having

     histories of threatening others and of suicide attempts, Respondent had not made any

     such threats or suicidal ideations during this visit to Duke. When asked whether

     Respondent    had   harmed     himself   after    being    released    from   his   earlier

     hospitalizations, Dr. Shirey stated: “He has harmed himself a few times, but not
                                                  IN RE C.G.

                                            2021-NCCOA-346

                                          GRIFFIN, J., dissenting



       others.” The trial court asked: “Do you wish to explain your answer?” Dr. Shirey

       explained Respondent had a history of suicide attempts, including trying to cut off

       his own arm. The trial court asked Dr. Shirey: “I’m sorry, what was the last thing

       you said?” Dr. Shirey clarified: “Attempting to cut off his own arm.”

¶ 10         Following cross-examination by Respondent’s counsel, the trial court further

       inquired:

                   Q. Doctor, is it your testimony that the Defendant is
                   or is not a danger to himself now?

                   A. He is a danger to himself now.

                   Q. Is it your testimony that the Defendant is or is
                   not a danger to others at this present time?

                   A. He is a danger to others.

                   Q. And how long are you asking to commit him?

                   A. Thirty days.

¶ 11         Respondent’s counsel called Respondent to testify.          After some discussion

       between Respondent and the bailiff, where Respondent expressed reservations about

       testifying claiming to do so would be “sacrilegious,” Respondent did not take the

       witness stand. Respondent’s counsel gave closing remarks in which counsel asked

       the trial court to release Respondent because, although the trial court heard evidence

       that Respondent was a danger to himself and others in the past, Respondent had

       made no suicidal ideations while at Duke and none of his previous threats to others
                                             IN RE C.G.

                                          2021-NCCOA-346

                                        GRIFFIN, J., dissenting



       had “come to fruition.”

¶ 12         After Respondent’s counsel gave her closing remarks, the trial court found

       Respondent was mentally ill, was a danger to himself and others, and ordered

       Respondent be committed for thirty days. Respondent then asked the trial court:

       “Can I still take the stand? Can I try again?” The trial court allowed Respondent to

       take the stand. Respondent testified he did not feel he was a threat to himself, to his

       mother, or to others. He also testified he would call 911 if he ever needed any help

       and that he would continue to take his medications if released. The trial court stated

       its ruling stood. Respondent’s counsel gave oral Notice of Appeal in open court and

       asked that the Appellate Defender be appointed.

¶ 13         That same day, the trial court entered a written Order. The trial court found

       “by clear, cogent, and convincing evidence” Respondent: “suffers from s[c]hizoaffective

       disorder[;]” had been hospitalized thirty times; had previously exhibited homicidal

       ideations towards his mother; was in need of long-acting injectable medication;

       intended to fire his assertive community treatment team; had a history of suicide

       attempts, including attempting to cut off his own arm; was initially unwilling to

       testify because it was “sacrilegious”; and that “his speech was fast and somewhat

       incoherent.” The trial court’s Order also seemed to incorporate, as Findings of Fact,

       Dr. Sharma’s Examination report; however, although the trial court listed the

       examination Dr. Sharma completed, the trial court did not check the box expressly
                                               IN RE C.G.

                                            2021-NCCOA-346

                                         GRIFFIN, J., dissenting



       incorporating the report as findings of fact.2 The trial court concluded Respondent

       was mentally ill and a danger to himself and others. Accordingly, the trial court

       ordered Respondent committed for thirty days.

                                                Issues

¶ 14         The issues on appeal are: (I) whether this Court should exercise its discretion

       and allow Respondent’s appeal when Respondent’s counsel did not file a written

       notice of appeal as required by our Rules of Appellate Procedure; (II) whether the

       trial court violated Respondent’s due process right to an impartial tribunal by calling

       and examining a witness in order to elicit evidence, in the absence of any

       representative of the State; and (III) whether the trial court’s underlying Findings of

       Fact supported its ultimate Findings Respondent was dangerous to himself and to

       others.

                                               Analysis

                                            I. Jurisdiction

¶ 15         Recognizing Respondent’s trial counsel never filed a written notice of appeal,

       Respondent’s appellate counsel has filed, concurrently with Respondent’s brief, a

       Petition for Writ of Certiorari with this Court to allow review of the trial court’s




             2 The trial court’s Order references a 7 December 2019 report.
                                                                       However, the only such
       report related to Respondent made by Dr. Sharma occurred on 25 December 2019 and was
       filed on 27 December 2019.
                                             IN RE C.G.

                                           2021-NCCOA-346

                                        GRIFFIN, J., dissenting



       Order.

¶ 16         Respondents in involuntary commitment actions have a statutory right to

       appeal a trial court’s order. N.C. Gen. Stat. § 122C-272 (2019) (“Judgment of the

       district court [in involuntary commitment cases] is final. Appeal may be had to the

       Court of Appeals by the State or by any party on the record as in civil cases.”). Rule

       3 of our Rules of Appellate Procedure governs such appeals. N.C.R. App. P. 3(a)

       (2021) (“Any party entitled to appeal from a judgment or order of a superior or district

       court rendered in a civil action or special proceeding may take appeal by filing notice

       of appeal with the clerk of superior court[.]”). Rule 3 requires parties to file written

       notice of appeal thirty days after the entry of such a judgment or order. N.C.R. App.

       P. 3(a), (c) (2021). “Rule 3 is a jurisdictional rule” and “ a party’s compliance with

       Rule 3 is necessary to establish appellate jurisdiction[.]” Am. Mech., Inc. v. Bostic,

       245 N.C. App. 133, 143, 782 S.E.2d 344, 350 (2016). “[A] jurisdictional rule violation

       . . . precludes the appellate court from acting in any manner other than to dismiss the

       appeal.” Id. at 142, 782 S.E.2d at 350 (citation and quotation marks omitted). Thus,

       in the absence of a properly filed notice of appeal, this Court has no jurisdiction to

       consider Respondent’s appeal as of right.

¶ 17         However, Rule 21 of our Rules of Appellate Procedure provides: “[t]he writ of

       certiorari may be issued in appropriate circumstances by either appellate court to

       permit review of the judgments and orders of trial tribunals when the right to
                                             IN RE C.G.

                                          2021-NCCOA-346

                                        GRIFFIN, J., dissenting



       prosecute an appeal has been lost by failure to take timely action[.]” N.C.R. App. P.

       21(a)(1) (2021); see also N.C. Gen. Stat. § 7A-32(c) (2019). Respondent concedes his

       counsel did not file written notice of appeal, but, because counsel objected to the

       proceedings and gave oral Notice of Appeal in open court, asks this Court to exercise

       its discretion and issue a writ of certiorari to review his case. Because Respondent’s

       counsel objected to the proceedings and demonstrated at least the intent to appeal

       the trial court’s order, and because involuntary commitment is a significant incursion

       to one’s liberty interests, Humphrey v. Cady, 405 U.S. 504, 509, 31 L. Ed. 2d 394
       (1972), we grant Respondent’s Petition and review the trial court’s Order.

¶ 18         Additionally, although neither party argues this case is moot because the

       period of commitment has expired, discharge from involuntary commitment does not

       render an appeal moot. “The possibility that respondent’s commitment in this case

       might likewise form the basis for a future commitment, along with other obvious

       collateral legal consequences, convinces us that this appeal is not moot.” In re Moore,

       234 N.C. App. 37, 41, 758 S.E.2d 33, 36 (2014) (citation and quotation marks omitted).

       Accordingly, Respondent’s appeal is properly before this Court.

                                       II. Impartial Tribunal

¶ 19         Respondent argues the trial court violated his due process right to an impartial

       tribunal because the State was not represented by counsel and the trial court elicited

       evidence in favor of committing Respondent. The due process right to an impartial
                                              IN RE C.G.

                                            2021-NCCOA-346

                                         GRIFFIN, J., dissenting



       tribunal raises questions of constitutional law that we review de novo. Dorsey v.

       UNC-Wilmington, 122 N.C. App. 58, 66, 468 S.E.2d 557, 562 (1996). “In order to

       preserve an issue for appellate review, a party must have presented to the trial court

       a timely request, objection, or motion, stating the specific grounds for the ruling the

       party desired the court to make if the specific grounds were not apparent from the

       context.” N.C.R. App. P. Rule 10(a)(1) (2021). Although Respondent’s counsel did not

       expressly state an objection on constitutional grounds, it is apparent from the context

       Respondent objected on due process grounds as counsel objected to the nature of the

       proceedings where there was no counsel for the State present and where the trial

       court was the only entity to elicit evidence on direct examination.

¶ 20             N.C. Gen. Stat. § 122C-268 provides for how both a respondent and the State

       are to be represented in an involuntary commitment proceeding. N.C. Gen. Stat. §

       122C-268(d) mandates a “respondent shall be represented by counsel of his choice; or

       if he is indigent within the meaning of G.S. 7A-450 or refuses to retain counsel if

       financially able to do so, he shall be represented by counsel appointed in accordance

       with rules adopted by the Office of Indigent Defense Services.” N.C. Gen. Stat. §

       122C-268(d) (2019). As to representation of the State’s interests, the statute has

       separate provisions depending on whether the proceeding arises out of a state facility

       or not:

                    The attorney, who is a member of the staff of the Attorney
                                                IN RE C.G.

                                              2021-NCCOA-346

                                           GRIFFIN, J., dissenting



                 General assigned to one of the State’s facilities for the mentally
                 ill or the psychiatric service of the University of North Carolina
                 Hospitals at Chapel Hill, shall represent the State’s interest at
                 commitment hearings, rehearings, and supplemental hearings
                 held for respondents admitted pursuant to this Part or G.S. 15A-
                 1321 at the facility to which he is assigned.

                 In addition, the Attorney General may, in his discretion,
                 designate an attorney who is a member of his staff to represent
                 the State’s interest at any commitment hearing, rehearing, or
                 supplemental hearing held in a place other than at one of the
                 State’s facilities for the mentally ill or the psychiatric service of
                 the University of North Carolina Hospitals at Chapel Hill.

       N.C. Gen. Stat. § 122C-268(b) (2019).3

¶ 21          The State takes the position that the latter provision means the Attorney

       General has complete discretion whether or not to appear in involuntary commitment

       proceedings at non-state-owned facilities and, thus, involuntary commitment

       proceedings at private hospitals may proceed without the State’s interests being

       represented, as occurred in this case. We express no opinion on the correctness of the

       State’s statutory interpretation or as to the soundness of such practice. However, our

       Court has previously rejected arguments respondent’s due process rights were

       violated in involuntary commitment proceedings where the State, as petitioner, was



              3 In addition: “If the respondent’s custody order indicates that he was charged with a

       violent crime, including a crime involving an assault with a deadly weapon, and that he was
       found incapable of proceeding, the clerk shall give notice of the time and place of the hearing
       as provided in G.S. 122C-264(d). The district attorney in the county in which the respondent
       was found incapable of proceeding may represent the State’s interest at the hearing.” N.C.
       Gen. Stat. § 122C-268(c) (2019).
                                       IN RE C.G.

                                    2021-NCCOA-346

                                 GRIFFIN, J., dissenting



not represented by counsel and where:

          [t]he gravamen of [respondent’s] contention is (1) that he was
          denied a fair hearing because, due to absence of counsel for
          petitioner, the court acted as petitioner’s de facto counsel; and (2)
          that he was denied equal protection of the law because petitioners
          in hearings at state regional psychiatric facilities are represented
          by counsel, G.S. 122-58.7(b), -58.24, while petitioners in hearings
          held elsewhere are not.

In re Perkins, 60 N.C. App. 592, 594, 299 S.E.2d 675, 677 (1983). There, this Court

noted: “We are aware of no per se constitutional right to opposing counsel. Nothing

in the record indicates language or conduct by the court which conceivably could be

construed as advocacy in relation to petitioner or as adversative in relation to

respondent.” Id. We reached the same conclusion in a companion case filed the same

day as Perkins, rejecting the argument “it is unconstitutional to allow the trial judge

to preside at an involuntary commitment hearing and also question witnesses at the

same proceeding.” In re Jackson, 60 N.C. App. 581, 584, 299 S.E.2d 677, 679 (1983).

Therefore, because our Court has previously upheld involuntary commitments where

the State has not appeared and where the trial court has questioned witnesses and

elicited evidence, we are bound by our prior precedent to conclude the same. See In

re Civil Penalty, 324 N.C. 373, 384, 379 S.E.2d 30, 37 (1989) (“Where a panel of the

Court of Appeals has decided the same issue, albeit in a different case, a subsequent

panel of the same court is bound by that precedent, unless it has been overturned by

a higher court.”).
                                             IN RE C.G.

                                          2021-NCCOA-346

                                        GRIFFIN, J., dissenting



¶ 22         Moreover, “[j]udges do not preside over the courts as moderators, but as

       essential and active factors or agencies in the due and orderly administration of

       justice. It is entirely proper, and sometimes necessary, that they ask questions of a

       witness[.]” State v. Hunt, 297 N.C. 258, 263, 254 S.E.2d 591, 596 (1979) (citation and

       quotation marks omitted). However, trial courts must be careful to avoid prejudice

       to the parties and may not impeach a witness’s credibility. State v. Howard, 15 N.C.

       App. 148, 150-51, 189 S.E.2d 515, 517 (1972) (citation omitted).

¶ 23         In this case, as in Perkins, nothing in the Record indicates language or conduct

       that could be construed as advocacy for or against either petitioner or Respondent.

       Here, the trial court called Dr. Shirey to testify. The trial court’s only questions of

       Dr. Shirey on direct examination were: “All right, ma’am. Tell me what it is you want

       me to know about this matter[;]” “Anything else?”; and “I’m sorry. What was the last

       thing you said?” On redirect, the trial court only asked Dr. Shirey if her testimony

       was that Respondent was a danger to himself and to others, and how long Duke was

       requesting Respondent be committed. Moreover, after Respondent initially declined

       to testify, and after the trial court had already issued its ruling, the trial court

       permitted Respondent to testify on his behalf. During Respondent’s testimony, the

       trial court only asked, “[y]ou wanted to tell me what?” when clarifying Respondent’s

       previous statement. The trial court merely elicited evidence that would otherwise be

       overlooked as no counsel for the State was present. The trial court did not ask
                                               IN RE C.G.

                                            2021-NCCOA-346

                                          GRIFFIN, J., dissenting



       questions meant to prejudice either party or impeach any witness and afforded

       Respondent the opportunity to testify on his behalf even after the close of all the

       evidence.    Accordingly, the trial court did not violate Respondent’s right to an

       impartial tribunal.

                                          III. Findings of Fact

¶ 24         Respondent also argues the trial court’s underlying Findings were insufficient

       to support its ultimate Findings Respondent was a danger to himself and to others.

       “To support an inpatient commitment order, the court shall find by clear, cogent, and

       convincing evidence that the respondent is mentally ill and dangerous to self, . . . or

       dangerous to others . . . .” N.C. Gen. Stat. § 122C-268(j) (2019). Our General Statutes

       define dangerous to self and others as:

                   a. Dangerous to self.—Within the relevant past, the individual
                   has done any of the following:

                    1. The individual has acted in such a way as to show all of the
                    following:

                      I. The individual would be unable, without care, supervision,
                      and the continued assistance of others not otherwise available,
                      to exercise self-control, judgment, and discretion in the
                      conduct of the individual’s daily responsibilities and social
                      relations, or to satisfy the individual’s need for nourishment,
                      personal or medical care, shelter, or self-protection and safety.

                      II. There is a reasonable probability of the individual’s
                      suffering serious physical debilitation within the near future
                      unless adequate treatment is given pursuant to this Chapter.
                      A showing of behavior that is grossly irrational, of actions that
                                              IN RE C.G.

                                          2021-NCCOA-346

                                        GRIFFIN, J., dissenting



                    the individual is unable to control, of behavior that is grossly
                    inappropriate to the situation, or of other evidence of severely
                    impaired insight and judgment shall create a prima facie
                    inference that the individual is unable to care for himself or
                    herself.

                  2. The individual has attempted suicide or threatened suicide
                  and that there is a reasonable probability of suicide unless
                  adequate treatment is given pursuant to this Chapter.

                  3. The individual has mutilated himself or herself or has
                  attempted to mutilate himself or herself and that there is a
                  reasonable probability of serious self-mutilation unless
                  adequate treatment is given pursuant to this Chapter.

                  Previous episodes of dangerousness to self, when applicable,
                  may be considered when determining reasonable probability of
                  physical debilitation, suicide, or self-mutilation.

                b. Dangerous to others.—Within the relevant past, the individual
                has inflicted or attempted to inflict or threatened to inflict serious
                bodily harm on another, or has acted in such a way as to create a
                substantial risk of serious bodily harm to another, or has engaged
                in extreme destruction of property; and that there is a reasonable
                probability that this conduct will be repeated. Previous episodes
                of dangerousness to others, when applicable, may be considered
                when determining reasonable probability of future dangerous
                conduct. Clear, cogent, and convincing evidence that an
                individual has committed a homicide in the relevant past is prima
                facie evidence of dangerousness to others.

       N.C. Gen. Stat. § 122C-3(11) (2019).

¶ 25         Thus, the trial court must satisfy two prongs when finding a respondent is a

       danger to self or others on any of the bases above: “A trial court’s involuntary

       commitment of a person cannot be based solely on findings of the individual’s ‘history
                                             IN RE C.G.

                                          2021-NCCOA-346

                                        GRIFFIN, J., dissenting



       of mental illness or . . . behavior prior to and leading up to the commitment hearing,’

       but must [also] include findings of ‘a reasonable probability’ of some future harm

       absent treatment[.]” In re J.P.S., 264 N.C. App. 58, 62, 823 S.E.2d 917, 921 (2019)

       (citing In re Whatley, 224 N.C. App. 267, 273, 736 S.E.2d 527, 531 (2012)). “Although

       the trial court need not say the magic words ‘reasonable probability of future harm,’

       it must draw a nexus between past conduct and future danger.” Id. at 63, 823 S.E.2d

       at 921.

¶ 26         It is the role of the trial court to determine whether the evidence of a

       respondent’s mental illness and danger to self or others rises to the level of clear,

       cogent, and convincing. Whatley, 224 N.C. App. at 270-71, 736 S.E.2d at 530 (citation

       omitted). “Findings of mental illness and dangerousness to self are ultimate findings

       of fact.” In re B.S., 270 N.C. App. 414, 417, 840 S.E.2d 308, 310 (2020) (citing In re

       Collins, 49 N.C. App. 243, 246, 271 S.E.2d 72, 74 (1980)). On appeal, “[t]his Court

       reviews an involuntary commitment order to determine whether the ultimate

       findings of fact are supported by the trial court’s underlying findings of fact and

       whether those underlying findings, in turn, are supported by competent evidence.”

       B.S., 270 N.C. App. at 417, 840 S.E.2d at 310 (citing In re W.R.D., 248 N.C. App. 512,

       515, 790 S.E.2d 344, 347 (2016)). As such, the trial court must also record the facts

       that support its “ultimate findings[.]” Whatley, 224 N.C. App. at 271, 736 S.E.2d at

       530. “If a respondent does not challenge a finding of fact, however, it is presumed to
                                            IN RE C.G.

                                          2021-NCCOA-346

                                       GRIFFIN, J., dissenting



       be supported by competent evidence and [is] binding on appeal.” Moore, 234 N.C.

       App. at 43, 758 S.E.2d at 37 (citation and quotation marks omitted).

¶ 27         Respondent does not challenge the trial court’s ultimate Finding he was

       mentally ill. Although Respondent challenges the trial court’s ultimate Findings he

       was a danger to himself and others, Respondent only challenges the trial court’s

       underlying Findings Respondent was unable to care for himself in the community,

       was not taking his medications, and that the trial court did not indicate how recently

       Respondent attempted suicide.     Thus, the rest of the trial court’s Findings are

       presumed to be supported by competent evidence. Id.
                A. Danger to Self

¶ 28         Respondent argues there is insufficient evidence to support the Finding

       Respondent was a danger to himself absent the challenged underlying Findings, and

       that the trial court did not expressly find a reasonable probability Respondent would

       harm himself in the future.

¶ 29         The trial court found Respondent was a danger to himself because Respondent:

       suffered from schizoaffective disorder; had been hospitalized thirty times; had a

       history of suicidal ideations; and exhibited speech that was “fast and somewhat
                                                 IN RE C.G.

                                              2021-NCCOA-346

                                           GRIFFIN, J., dissenting



       incoherent.” The trial court, by incorporating Dr. Sharma’s report, 4 received evidence

       police brought Respondent to Duke in this instance, in part, because of suicidal

       ideations.     Therefore, competent evidence supports the underlying Finding

       Respondent had a history of suicidal ideations in the relevant past. As such, the trial

       court satisfied the first prong by finding Respondent had a history, including a recent

       history, of suicidal ideations.

¶ 30          Although the trial court did not expressly state Respondent had a reasonable

       probability of decompensating and harming himself, the trial court did find

       Respondent: needed a long-acting, injectable medication that Respondent had not yet

       received; intended to fire his “assertive management team”; and—by incorporating

       Dr. Sharma’s report—presented in the same manner as when he had been

       hospitalized in the past and needed inpatient treatment for “stabilization and safety.”

       Therefore, the trial court’s Findings “ ‘indicate that Respondent’s illness or any of

       [his] aforementioned symptoms will persist and endanger [him] within the near



              4 Although the trial court did not check the box on the pre-printed form expressly

       incorporating Dr. Sharma’s report, the trial court entered a date and Dr. Sharma’s name in
       the spaces provided on the form that would list a report so incorporated. Because the trial
       court evidenced its intent to incorporate the specific report by listing the report, we conclude
       the trial court inadvertently failed to check the box expressly incorporating the report as
       findings of fact. Cf. Rudder v. Rudder, 234 N.C. App. 173, 181, 759 S.E.2d 321, 327 (2014)
       (holding the trial court satisfied the requirement it find there was a danger of domestic
       violence when it checked boxes related to specific findings under the box expressly finding a
       danger of domestic violence, but not that box itself). Moreover, Respondent concedes Dr.
       Sharma’s “report was incorporated by reference.”
                                               IN RE C.G.

                                           2021-NCCOA-346

                                        GRIFFIN, J., dissenting



       future.’ ” J.P.S., 264 N.C. App. at 63, 823 S.E.2d at 921 (quoting Whatley, 224 N.C.

       App. at 273, 736 S.E.2d at 531). Thus, these Findings also support the trial court’s

       ultimate Finding Respondent was a danger to self.

                 B. Danger to Others

¶ 31         Respondent also challenges the trial court’s ultimate Finding he was a danger

       to others because, according to Respondent, the trial court did not find a reasonable

       probability of future harm. However, as described above, trial court satisfied its

       requirement to find a reasonable probability of future harm because the trial court

       found: Respondent’s last hospitalization was directly related to his homicidal

       ideations directed toward his mother; Respondent presented to Duke, in this

       instance, in a similar manner as he had when previously committed; needed long-

       acting, injectable medicine; planned to fire his management team; and required

       hospitalization for “stabilization and safety.” All of these Findings indicate a risk of

       future harm absent commitment. Thus, the trial court properly found there was a

       reasonable probability of future harm and that Respondent was a danger to others.

¶ 32         The trial court only needed to find Respondent was a danger to himself or to

       others in conjunction with finding he was mentally ill. Because the trial court’s

       underlying Findings supported its ultimate Findings Respondent was both a danger

       to himself and to others, the trial court supported its Order committing Respondent.

       N.C. Gen. Stat. § 122C-268(j) (2019).
                                      IN RE C.G.

                                   2021-NCCOA-346

                                 GRIFFIN, J., dissenting



                                     Conclusion

¶ 33   For the foregoing reasons, we affirm the trial court’s Order.

       AFFIRMED.

       Judge DILLON concurs in a separate opinion.

       Judge GRIFFIN dissents in a separate opinion.
     No. COA20 – 551 In re: Q.J.


           DILLON, Judge, concurring.


¶1         I fully concur in the majority opinion and its reasoning. I write separately to

     expound the due process issue based on the trial court calling and questioning

     witnesses where the State was not present at the hearing. Specifically, I note the

     points I make in the “Due Process Concerns” section of my concurring opinion in the

     companion appeal, In re C.G., ___ N.C. App. ___, 2021-NCCOA-344.
No. COA20-551 – In re Q.J., Jr.


      GRIFFIN, Judge, dissenting.


      I dissent from the majority opinion for the reasons stated in my dissenting

opinion in In re C.G., ___ N.C. App. ___, 2021-NCCOA-344, a companion case heard

by this panel on 10 March 2021.
